Stay Lifted; Petition for Writ of Mandamus Denied and Memorandum
Opinion filed August 15, 2024.




                                       In The

                     Fourteenth Court of Appeals

                                 NO. 14-24-00207-CV



           IN RE CLEAR BLUE INSURANCE COMPANY, Relator


                          ORIGINAL PROCEEDING
                            WRIT OF MANDAMUS
                               113th District Court
                              Harris County, Texas
                        Trial Court Cause No. 2022-65578

                         MEMORANDUM OPINION

      On March 21, 2024, relator Clear Blue Insurance Company filed a petition
for writ of mandamus in this Court. See Tex. Gov’t Code Ann. § 22.221; see also
Tex. R. App. P. 52. In the petition, relator asks this Court to compel the Honorable
Rabeea Sultan Collier, presiding judge of the 113th District Court of Harris
County, to vacate the trial court’s March 5, 2024 order denying relator’s motion to
sever and abate plaintiff’s extracontractual claims.
      Relator has not established that it is entitled to mandamus relief.
Accordingly, we deny relator’s petition for writ of mandamus. We lift this Court’s
April 12, 2024 stay order.

                                  PER CURIAM

Panel consists of Justices Bourliot, Poissant, and Wilson.




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